Case 1:14-cv-01382-RGA Document 173 Filed 05/20/19 Page 1 of 3 PageID #: 5206



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

ENDO PHARMACEUTICALS INC. and                    )
MALLINCKRODT LLC,                                )
                                                 )
                        Plaintiffs,              )
                                                 )
                v.                               )   C.A. No. 14-1382 (RGA)
                                                 )
AMNEAL PHARMACEUTICALS, LLC                      )
and AMNEAL PHARMACEUTICALS OF                    )
NEW YORK, LLC,                                   )
                                                 )
                        Defendants.              )


                     AMENDED FINAL JUDGMENT AND STIPULATION

        Pursuant to Rule 58 of the Federal Rules of Civil Procedure, and for the reasons stated

 in the Court's October 7, 2016 Trial Opinion (D.I. 155), the Stipulation and Order of

 Infringement of U.S. Patent No. 8,871,779 ("the '779 patent") (D.I. 110), and the mandates of

 the Federal Circuit (D.I. 169 and D.I. 170), the Court amends the final judgment entered on

 October 21, 2017 (D.1. 157) and enters judgment as follows:

        IT IS HEREBY ORDERED, ADJUDGED AND DECREED that:

                1.      Final judgment is entered in favor of Plaintiffs and against Defendants

 that claims 1-6 of U.S. Patent No. 8,871,779 patent are not invalid;

                2.      Final judgment is entered in favor of Plaintiffs and against Defendants

 (as stipulated in D.I. 110) that Defendants' filing of ANDA No. 20-4294 to obtain approval

 for the commercial manufacture, use, and sale of the proposed oxymorphone hydrochloride

 extended-release products that are the subject of that ANDA ("Defendants' ANDA products")

 is an act of patent infringement of asserted claims 1-6 of the '779 patent under 35 U.S.C.

 § 271(e)(2)(A);
Case 1:14-cv-01382-RGA Document 173 Filed 05/20/19 Page 2 of 3 PageID #: 5207



               3.      Final judgment is entered in favor of Plaintiffs and against Defendants

that the making, use, offer for sale, sale, and/or importation of Defendants' ANDA products

as they are currently described in ANDA No. 20-4294 in/into the United States before the

expiration of the '779 patent would directly infringe asserted claims 1-6 of the '779 patent

under 35 U.S.C. § 271(a);

               4.      The partial judgment entered by the Court on February 5, 2016,

relating to U.S. Patent No. 8,808,737 ("the '737 patent") (D.I. 108), is hereby vacated;

               5.      The parties stipulate and agree that all claims in the Complaint (Counts

I and II) (D.I. 1) and Amneal's counterclaim (Counterclaims I and III of the Answer (D.I.

 12)) related to the '737 patent are hereby dismissed without prejudice;

               6.      Pursuant to 35 U.S.C. § 271(e)(4)(A), the effective date of any final

 approval by the United States Food and Drug Administration of Defendants' ANDA No. 20-

4294 under§ 5050) of the Federal Food, Drug, and Cosmetic Act (21 U.S.C. § 3550)) shall

be a date not earlier than the date of expiration of the '779 patent, including any applicable

periods of regulatory exclusivity;

               7.      Pursuant to 35 U.S.C. §§ 271(e)(4)(B) and 283, Defendants and their

affiliates, subsidiaries, officers, agents, employees, and attorneys, and those acting in privity

or concert therewith are hereby enjoined prior to the expiration of the '779 patent from the

commercial manufacture, use, marketing, sale, offer for sale within the United States or

importation into the United States of Defendants' proposed oxymorphone hydrochloride

extended-release products that are the subject of ANDA No. 20-4294, said injunctive relief

shall not cover any activities that are protected by the "safe harbor" provision of 35 U.S.C.

 § 271(e)(l); and




                                                2
Case 1:14-cv-01382-RGA Document 173 Filed 05/20/19 Page 3 of 3 PageID #: 5208



                 8.      The parties shall bear their own costs.



MORRIS, NICHOLS, AR.SHT & TUNNELL LLP                MORRIS JAMES LLP


/s/ Steplien J. 'l(fajtscliik,                       /s/ 'Kjnnetli £. <Dorsney

Jack B. Blumenfeld (#1014)                             Kenneth L. Dorsney (#3726)
Stephen J.- Kraftschik (#5623)                         500 Delaware A venue, Suite 1500
1201 N. Market Street                                  Wilmington, DE 19899-2306
P.O. Box 1347                                        . (302) 888-6800
Wilmington, DE 19899                                   kdorsney@morrisjames.com
(302) 658-9200
jblumenfeld@mnat.com                                 Attorneys for Defendants
skraftschik@mnat.com

Attorneys for Plaintiffs

 May 17, 2019


                 SO ORDERED this        UJ   day of May, 2019.




                                                 3
